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 6

 7                               UNITED STATES DISTRICT COURT
 8                             CENTRAL DISTRICT OF CALIFORNIA
 9

10    ALEJANDRA VARGO,                            Case No. 2:19-cv-00996
11                      Plaintiff,                COMPLAINT FOR DAMAGES
12           v.                                   1. VIOLATION OF THE FAIR DEBT
                                                  COLLECTION PRACTICES ACT, 15 U.S.C.
13                                                §1692 ET SEQ.;
      ULRS, INC. d/b/a CREDIT
14    COLLECTION BUREAU a/k/a                     2. VIOLATION OF THE ROSENTHAL FAIR
      UNITED LEGAL GROUP,                         DEBT COLLECTION PRACTICES ACT,
15                                                CAL. CIV. CODE §1788 ET SEQ.
                        Defendant.
16                                                DEMAND FOR JURY TRIAL
17

18                                           COMPLAINT
19          NOW comes ALEJANDRA VARGO (“Plaintiff”), by and through her attorneys, WAJDA
20
     LAW GROUP, APC (“Wajda”), complaining as to the conduct of ULRS, INC. d/b/a CREDIT
21
     COLLECTION BUREAU (“Defendant”) as follows:
22
                                        NATURE OF THE ACTION
23
        1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection Practices Act
24
     (“FDCPA”) under 15 U.S.C. §1692 et seq. and the Rosenthal Fair Debt Collection Practices Act
25

26   (“RFDCPA”) pursuant to Cal. Civ. Code §1788, for Defendant’s unlawful conduct.

27                                     JURISDICTION AND VENUE
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                                                     1
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 1       2. This action arises under and is brought pursuant to the FDCPA. Subject matter jurisdiction
 2   is conferred upon this Court by 15 U.S.C. §1692, 28 U.S.C. §§1331 and 1337, as the action arises
 3
     under the laws of the United States. Supplemental jurisdiction exists for the state law claim
 4
     pursuant to 28 U.S.C. §1367.
 5
         3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant resides and
 6

 7   conducts business in the Central District of California, and a substantial portion of the events or

 8   omissions giving rise to the claims occurred within the Central District of California.

 9                                                  PARTIES
10
         4. Plaintiff is a consumer over 18 years-of-age residing in San Pedro, California, which is
11
     located within the Central District of California.
12
         5. Plaintiff is a natural “person” as defined by 47 U.S.C. §153(39).
13
         6. Defendant is a debt collection agency organized under the laws of the state of California
14

15   with its principal places of business located at 495 East Rincon Street, Corona, California.

16       7.   Defendant is a “person” as defined by 47 U.S.C. §153(39).
17       8.   Defendant acted through its agents, employees, officers, members, directors, heirs,
18
     successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all times
19
     relevant to the instant action.
20
                                   FACTS SUPPORTING CAUSES OF ACTION
21

22       9. In approximately 2014, Plaintiff received medical services from Dr. Jeffery Colbert (“Dr.

23   Colbert”), located in Marina Del Rey, California

24       10. Plaintiff subsequently defaulted on her payments owed to Dr. Colbert, thus incurring debt
25   (“subject debt”).
26
         11. After Plaintiff defaulted on her obligations to Dr. Colbert, Dr. Colbert charged off the
27
     subject debt and ceased sending periodic statements to Plaintiff regarding the subject debt.
28
                                                          2
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 1      12. Several years after Plaintiff defaulted on the subject debt, the subject debt was turned over
 2   to Defendant for collection.
 3
        13. Upon initially dealing with Defendant, Plaintiff sent a written request that Defendant
 4
     validate the subject debt.
 5
        14. In response, on or about January 23, 2019, Plaintiff received a validation letter from
 6

 7   Defendant.

 8      15. This letter provides that the total balance due on the subject debt is $558.18, which is

 9   comprised of $281.44 in principal, $192.31 in interest, as well as an initial collection fee of $84.43.
10
        16. The letter further states
11
                     We are responding to your recent request regarding the above
12                   mentioned account. This correspondence includes documentation
                     that serves to validate this particular debt and includes the original
13                   creditor’s name and address, the principal amount owed, any
                     payments made before assigned to our agency, as well as any and all
14
                     interest, late fees, and/or collection costs (if any) as of today’s debt
15
        17. Defendant’s validation letter did include documentation validating the principal owed on
16
     the subject debt; however, contrary to the representations in the letter, there was no documentation
17
     included with the validation letter addressing or otherwise validating the interest charges and initial
18

19   collection fee comprising the total balance due on the subject debt.

20      18. Accordingly, Plaintiff became frustrated and confused over Defendant’s actions and spoke
21   with counsel regarding her rights.
22
        19. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not
23
     limited to, invasion of privacy, aggravation that accompanies contact with debt collectors, violation
24
     of her federally protected interests, and emotional distress.
25

26                COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

27      20. Plaintiff repeats and realleges paragraphs 1 through 18 as though fully set forth herein.

28      21. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.
                                                      3
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 1         22. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA, because it regularly
 2   uses the mail and/or the telephone to collect, or attempt to collect, delinquent consumer accounts.
 3
           23. Defendant is engaged in the business of collecting or attempting to collect, directly or
 4
     indirectly, defaulted debts owed or due or asserted to be owed or due to others, and debt collection
 5
     is a primary purpose of its business. Defendant identifies itself as a debt collector and has been a
 6

 7   member of the ACA, an association of debt collectors, since 1983.1

 8         24. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a transaction

 9   due or asserted to be owed or due to another for personal, family, or household purposes.
10
                 a. Violations of the FDCPA § 1692e
11
           25. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any false,
12
     deceptive, or misleading representation or means in connection with the collection of any debt.”
13
           26. In addition, this section enumerates specific violations, such as:
14

15                  “The false representation of – the character, amount, or legal status of any debt . .
                    . .” 15 U.S.C. § 1692e(2).
16
                    “The threat to take any action that cannot legally be taken or that is not intended
17                  to be taken.” 15 U.S.C. § 1692e(5).

18                  “The use of any false representation or deceptive means to collect or attempt to
                    collect any debt or to obtain information concerning a consumer.” 15 U.S.C.
19                  §1692e(10).

20         27. Defendant violated 15 U.S.C. § 1692e, e(2), e(5) and e(10) through its attempts to collect
21
     interest additional to the principal balance of the subject debt. Upon information and belief, given
22
     the passage of time between when the subject debt was charged off/ Dr. Colbert ceased sending
23
     statements and Defendant’s subsequent attempts to collect the subject debt, Dr. Colbert would have
24

25   waived any right or ability to add interest to the subject debt. Such inability would have flowed to

26   subsequent individuals attempting to collect the subject debt, including Defendant. Defendant’s

27

28   1
         http://www.acainternational.org/search#memberdirectory
                                                                  4
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 1   failure and apparent inability to provide validation of the interest charges connected with the subject
 2   debt further underscores its inability to collect such amounts.
 3
        28. Defendant further violated § 1692e and e(10) through its misrepresentations as to the
 4
     portion(s) of the subject debt which had been validated. Defendant’s validation letter suggests that
 5
     documentation validating the interest charge and collection charge was provided to Plaintiff.
 6

 7   However, the documentation provided to Plaintiff in no way addressed or validated any interest or

 8   other fee additional to the principal balance of the subject debt. Defendant made these false and

 9   misleading representations hoping that Plaintiff would assume the entirety of the debt was validated
10
     and thus more readily address the subject debt, even though Plaintiff was not provided the
11
     validation Defendant represented.
12
             b. Violations of FDCPA § 1692f
13
        29. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair or
14

15   unconscionable means to collect or attempt to collect any debt.”

16      30. In addition, this section enumerates specific violations, such as:
17              “The collection of any amount (including any interest, fee, charge, or
                expense incidental to the principal obligation) unless such amount is
18
                expressly authorized by the agreement creating the debt or permitted by law
19              .” 15 U.S.C. §1692f(1).

20      31. Defendant violated § 1692f and f(1) when it unfairly suggested that it could collect interest
21   on the subject debt. This right was waived by Dr. Colbert, thus precluding Defendant from
22
     attempting to collect these amounts.
23
        32. Furthermore, Defendant violated § 1692f when it unfairly withheld documentation
24
     validating the interest charges and collection fee associated with the subject debt. Despite Plaintiff’s
25

26   request for validation of the subject debt, Defendant unfairly withheld information requested by

27   Plaintiff. It is unfair and unconscionable for a debt collector to deprive consumers of information

28   vital to their decision making process as such practice is designed to keep consumers in the dark in
                                                        5
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 1   furtherance of Defendant maintaining its asymmetrical knowledge advantage regarding the subject
 2   debt.
 3
        WHEREFORE, Plaintiff, ALEJANDRA VARGO, respectfully requests that this Honorable
 4
     Court enter judgment in her favor as follows:
 5
        a. Declaring that the practices complained of herein are unlawful and violate the
 6         aforementioned bodies of law;
 7
        b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
 8         §1692k(a)(2)(A);

 9      c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
           under 15 U.S.C. §1692k(a)(1);
10

11      d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
           §1692k(a)(3); and
12
        e. Awarding any other relief as this Honorable Court deems just and appropriate.
13

14
             COUNT II – VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
15

16      33. Plaintiff restates and realleges paragraphs 1 through 32 as though fully set forth herein.

17      34. Plaintiff is a “person” as defined by Cal. Civ. Code § 1788.2(g).

18      35. The alleged subject debt is a “debt” and “consumer debt” as defined by Cal. Civ. Code §
19   1788.2(d) and (f).
20
        36. Defendant is a “debt collector” as defined by Cal. Civ. Code § 1788.2(c).
21
              a. Violations of RFDCPA § 1788.13(c)
22
        37. The RFDCPA, pursuant to Cal. Civ. Code § 1788.13(c), states that a debt collector may not
23

24   falsely represent “that the consumer debt may be increased by the addition of attorney’s fees,

25   investigation fees, service fees, finance charges, or other charges if, in fact, such fees or charges

26   may not legally be added to the existing obligation.”
27

28
                                                       6
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 1      38. Defendant violated § 1788.13(c) of the RFDCPA through its attempts to collect interest on
 2   the subject debt. As discussed above, Defendant did not have the lawful ability to add such charges.
 3

 4          b. Violations of RFDCPA § 1788.17

 5      39. The RFDCPA, pursuant to Cal. Civ. Code § 1788.17 states that “Notwithstanding any other

 6   provision of this title, every debt collector collecting or attempting to collect a consumer debt shall
 7   comply with the provisions of Section 1692b to 1692j, inclusive of, and shall be subject to the
 8
     remedies in Section 1692k of, Title 15 of the United States Code.”
 9

10      40. As outlined above, through their conduct in attempting to collect upon the subject debt,

11   Defendant violated 1788.17; and 15 U.S.C. §§1692 e and f of the FDCPA. Defendant engaged in
12   false and unfair conduct in its attempts to collect a debt from Plaintiff, in violation of the RFDCPA.
13
        41. Defendant willfully and knowingly violated the RFDCPA.               Defendant’s willful and
14
     knowing violations of the TCPA should trigger this Honorable Court’s ability to award Plaintiff
15
     statutory damages of up to $1,000.00, as provided under Cal. Civ. Code § 1788.30(b).
16

17      WHEREFORE, Plaintiff, ALEJANDRA VARGO, respectfully requests that this Honorable

18   Court enter judgment in her favor as follows:

19      a. Declare that the practices complained of herein are unlawful and violate the aforementioned
           statute;
20

21      b. Award Plaintiff actual damages, pursuant to Cal. Civ. Code § 1788.30(a);

22      c. Award Plaintiff statutory damages up to $1,000.00, pursuant to Cal. Civ. Code §
           1788.30(b);
23
        d. Award Plaintiff costs and reasonable attorney fees as provided pursuant to Cal. Civ. Code
24
           § 1788.30(c); and
25
        e. Award any other relief as the Honorable Court deems just and proper.
26

27      Dated: February 7, 2019             Respectfully submitted,

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                                                        7
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